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12                              UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA
14
      UNITED STATES OF AMERICA,                      Case No. 3:22-cv-03070-TSH
15
                                  Plaintiff,         DECLARATION OF LAURA RIPOSO
16                                                   VANDRUFF
                    v.
17                                                   Hon. Thomas S. Hixson
      TWITTER, INC.,
18
                                  Defendant.
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                                                              CASE NO. 3:22-cv-03070-TSH
                                               DECLARATION OF LAURA RIPOSO VANDRUFF
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 1   I, Laura Riposo VanDruff, declare as follows:

 2          1.      I am a partner in the law firm Kelley Drye & Warren LLP and counsel for Nonparty

 3   Ernst & Young LLP. (“EY”). I make this declaration in support of the EY’s Statement in Support

 4   of Plaintiff United States’ Motion to Consider Whether Other Parties’ Material Should be Sealed,

 5   which is filed pursuant to Civil Local Rule 79-5(f). I have personal knowledge of the facts set

 6   forth in this declaration, and if called as a witness, I could and would testify competently thereto.

 7          2.      On August 3, 2023, X Corp., formerly known as Twitter, Inc., (“Twitter”) served

 8   EY with a subpoena duces tecum, demanding documents concerning EY’s role as independent

 9   assessor, the FTC, and Twitter’s Rule 60(b) Motion currently pending in this Court. After EY

10   objected to its terms and the parties met and conferred, Twitter filed a motion to compel in the

11   United States District Court for the District of Columbia.

12          3.      As part of EY’s opposition to Twitter’s motion to compel, and to provide the DC

13   District Court with necessary context as to the underlying lawsuit, EY provided the court with,

14   inter alia, the EY Memorandum, which is an internal EY memorandum documenting its decision

15   to resign from the Twitter FTC Assessment.

16          4.      However, to maintain the confidentiality of this document, EY concurrently filed

17   with its opposition a Motion for Leave to File Under Seal, which Twitter did not oppose. EY’s

18   Motion and the EY Memorandum were both filed under seal.
19          5.      Attached hereto as Exhibit A is an excerpt of the docket sheet in X Corp. v. Ernst
20   & Young LLP, No. 1:23-mc-00082-ABJ (D.D.C.), which contains Judge Berman Jackson’s minute

21   order granting EY’s Motion for Leave to File Documents Under Seal on September 11, 2023.

22          6.      When the United States filed its opposition to Twitter’s Rule 60(b) Motion, it

23   concurrently filed a Motion to Consider Whether Other Parties’ Material Should be Sealed. In the

24   document, the United States stated that Exhibit G—which Twitter designated as confidential—

25   and the EY Memorandum (attached as Exhibit H)—which EY designated as confidential—were

26   “refer[red] to in the depositions” of several current and former Twitter employees.

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 1          7.      On September 12, 2023, I emailed Scott Kennedy from the Department of Justice

 2   to ask whether the EY Memorandum was shared with Twitter’s employees or former employees

 3   during their depositions.

 4          8.      On September 13, 2023, Mr. Kennedy confirmed in an email that the EY

 5   Memorandum “was not provided to any current or former X Corp. employees by the FTC, nor was

 6   that document discussed in the depositions identified in the government’s Motion to Consider

 7   Whether Other Parties’ Material Should be Sealed.”

 8          9.      Attached hereto as Exhibit B is a true and correct copy of the email exchange
 9   between myself and Scott Kennedy of the United States Department of Justice.

10          10.     I declare under penalty of perjury under the laws of the United States that the

11   foregoing is true and correct.

12          This declaration is made this 18th day of September, 2023.

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14                                             By:
                                                     Laura Riposo VanDruff
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                                             DECLARATION OF LAURA RIPOSO VANDRUFF
